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                             UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE


EDUIN GARCIA, ET AL.                 :
                                     :
        Plaintiffs,                  :
                                     :
v.                                   :              Case No. 2:24-cv-00170-JCN
                                     :
YVES LAPOINTE DRYWALL,               :
INC., and AP DRYWALL, INC.           :
                                     :
                                     :
        Defendants.                  :
                                     :
__________________________           :
                                     :
YVES LAPOINTE DRYWALL,               :
INC.,                                :
                                     :
        Cross-Claim Plaintiff,       :
                                     :
v.                                   :
                                     :
AP DRYWALL, INC.                     :
                                     :
                                     :
        Cross-Claim Defendant.       :


     DEFENDANT, YVES LAPOINTE DRYWALL, INC.’s ANSWER and CROSS-CLAIM

        Defendant, Yves Lapointe Drywall, Inc. (“Lapointe”) submits this Answer to Plaintiffs’

Complaint (ECF 1), and cross-claims against Defendant, AP Drywall, Inc. (“AP Drywall”) as

follows:




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                                              ANSWER

       1.        This paragraph describes Plaintiffs’ claims and legal conclusions to which no

response is required. To the extent it contains factual allegations, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       2.        Lapointe lacks knowledge and is without information sufficient to form a belief as

to the truth of the allegations contained in this paragraph, and accordingly denies the same.

       3.        Lapointe lacks knowledge and is without information sufficient to form a belief as

to the truth of the allegations contained in the first four sentences of this paragraph, and

accordingly denies the same. Lapointe denies the allegations contained in sentence 5 of this

paragraph.

       4.        This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

       5.        This paragraph describes Plaintiffs’ claims and legal conclusions, to which no

response is required. To the extent this paragraph contains factual allegations, Lapointe denies

them. Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       6.        This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent this paragraph contains factual allegations,

Lapointe denies them. Lapointe further denies that the Plaintiffs are entitled to judgment or other

relief sought.

       7.        Exhibit 1 speaks for itself and no response is required. To the extent this

paragraph contains factual allegations, Lapointe denies them.




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                                       Jurisdiction and Venue

       8.      This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations they are denied.

       9.      This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations they are denied.

       10.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations they are denied.

                                                Parties

       11.     Lapointe denies the allegations contained in this paragraph.

       12.     Lapointe denies the allegations contained in this paragraph.

       13.     Lapointe denies the allegations contained in this paragraph.

       14.     Lapointe denies the allegations contained in this paragraph.

       15.     Lapointe denies the allegations contained in this paragraph.

       16.     Lapointe denies the allegations contained in this paragraph.

       17.     Lapointe admits that it is a drywall company with its principal place of business in

Poland, County of Androscoggin, Maine. Lapointe denies the allegations in the second sentence

of this paragraph, and specifically denies that it meets the definition of “employer” as defined in

the FLSA and 26 M.R.S. § 591, with respect to the Plaintiffs.

       18.     Lapointe denies the allegations contained in this paragraph.

       19.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.




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       20.        Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same. This paragraph also

contains legal conclusions to which no response is required, and otherwise denies them.

       21.        Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same. This paragraph also

contains legal conclusions to which no response is required, and otherwise denies them.

                                          Factual Allegations

       22.        Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       23.        Admitted.

       24.        Denied. By way of further answer, Lapointe states that it hired AP Drywall as a

subcontractor to provide services relating to framing, drywall, and hanging sheet rock on certain

jobs for which Lapointe was paid by general contractors and denies the remaining allegations in

this paragraph.

       25.        Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       26.        Lapointe admits that certain of Plaintiffs worked for Defendant AP Drywall, a

subcontractor of Lapointe, on the Edward Little High School construction site, and denies the

remaining allegations in the first sentence of this paragraph. Lapointe admits that the general

contractor on that site was Arthur C. Dudley contractor/Builder, Inc. and denies the remaining

allegations in the second sentence of this paragraph.

       27.        Denied.




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       28.     Lapointe admits that certain of Plaintiffs worked for Defendant AP Drywall, a

subcontractor of Lapointe, on the Skowhegan New Elementary School construction site, and

denies the remaining allegations in the first sentence of this paragraph. Lapointe admits that the

general contractor on that site was Landry French Construction Co. and denies the remaining

allegations in the second sentence of this paragraph.

       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied. By way of further answer, Lapointe states that it would record hours

worked by certain of Plaintiffs on jobs at which AP Drywall was a subcontractor to Lapointe and

denies the remaining allegations contained in this paragraph.

       34.     Denied as to paragraphs 34 (a)-(e). Admitted as to paragraph 34(f) as to jobs at

which AP Drywall was a subcontractor to Lapointe, and denies the remaining allegations

contained in this subparagraph.

       35.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       36.     Denied. By way of further answer, Lapointe states that it supplied lifts, ladders,

and baker staging for its own employees and it is possible that its subcontractor AP Drywall’s

employees may have used that equipment and denies the remaining allegations in this paragraph.

       37.     Denied. By way of further answer, Lapointe states that it supplied certain

materials on certain jobsites some of which may have been used by its subcontractor AP

Drywall’s employees and denies the remaining allegations in this paragraph.



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       38.     Denied.

       39.     Denied.

       40.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       41.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       42.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       43.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       44.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same. By way of further

answer, Lapointe states that Exhibit 2 speaks for itself and no response is required. To the extent

a response is required, Lapointe is without information sufficient to form a belief as to the truth

of the allegations, and accordingly denies the same.

       45.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same. By way of further

answer, Lapointe states that Exhibit 3 speaks for itself and no response is required. To the extent

a response is required, Lapointe is without information sufficient to form a belief as to the truth

of the allegations, and accordingly denies the same.

       46.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same. By way of further

answer, Lapointe states that Exhibit 4 speaks for itself and no response is required. To the extent



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a response is required, Lapointe is without information sufficient to form a belief as to the truth

of the allegations, and accordingly denies the same.

       47.     Denied.

       48.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

       49.     This paragraph contains legal conclusions to which no response is required. To

the extent it contains factual allegations, Lapointe denies them.

       50.     Lapointe admits that it contracted with AP Drywall, as subcontractor, at certain

jobsites, and that its workers performed manual labor. Lapointe is without information as to the

remaining allegations in this paragraph and therefore denies them.

       51.     This paragraph contains legal conclusions to which no response is required. To

the extent a response is required, Lapointe denies them.

       52.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

       53.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

       54.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.




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       55.     This paragraph contains legal conclusions to which no response is required. To

the extent it contains factual allegations, Lapointe denies them. As to Defendant AP Drywall,

Lapointe is without information sufficient to form a belief as to the truth of the allegations, and

accordingly denies them.

       56.     Denied.

       57.     Denied. By way of further answer, Lapointe states that this paragraph contains

legal conclusions to which no response is required. To the extent it contains factual allegations,

Lapointe denies them.

       58.     Denied. By way of further answer, Lapointe states that this paragraph contains

legal conclusions to which no response is required. To the extent it contains factual allegations,

Lapointe denies them

       59.     Denied. By way of further answer, Lapointe states that this paragraph contains

legal conclusions to which no response is required. To the extent it contains factual allegations,

Lapointe denies them.

       60.     Denied. By way of further answer, Lapointe states that this paragraph contains

legal conclusions to which no response is required. To the extent it contains factual allegations,

Lapointe denies them.

       61.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

       62.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.



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       63.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

                      Representative Action Allegations for FLSA Claims

       64.     This paragraph describes Plaintiffs’ claims to which no response is required. To

the extent it contains factual allegations to which a response is required, Lapointe denies them.

       65.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent it contains factual allegations, Lapointe denies

them. Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       66.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       67.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       68.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       69.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       70.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       71.     Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

       72.     Denied.



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       73.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       74.     Denied.

       75.     Lapointe is without information sufficient to form a belief as to the truth of the

allegations contained in this paragraph, and accordingly denies the same.

       76.     This paragraph contains legal conclusions to which no response is required. To

the extent it contains factual allegations against Lapointe, they are denied. As to Defendant AP

Drywall, Lapointe is without information sufficient to form a belief as to the truth of the

allegations, and accordingly denies the same.

       77.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations against Lapointe, they are denied.

       78.     This paragraph contains legal conclusions to which no response is required. To the

extent this paragraph contains factual allegations against Lapointe, they are denied.

                                     Class Action Allegations

       A.       Class Definition

       79.      This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       80.     This paragraph describes Plaintiffs’ claims to which no response is required. To

the extent a response is required, Lapointe denies them.




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       B.      Efficiency of Class Prosecution of Common Claims

       81.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       C.      Numerosity of Impracticality of Joinder

       82.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       D.      Common Questions of Law and Fact

       83.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       E.      Typicality of Claims and Relief Sought

       84.     This paragraph describes Plaintiffs’ claims to which no response is required. To

the extent a response is required, Lapointe denies them.

       F.      Adequacy of Representation

       85.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

       G.      Rules 23(B)(3) Requirements

       86.     This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.



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          87.   This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

          88.   This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

          89.   LaPointe is without information sufficient to form a belief as to the allegations in

this paragraph and therefore denies them.

          90.   This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent a response is required, Lapointe denies them.

Lapointe further denies that the Plaintiffs are entitled to judgment or other relief sought.

          91.   This paragraph contains legal conclusions to which no response is required.

Further, Lapointe is without information to form a belief as to the remaining allegations, and to

the extent a response is required, Lapointe denies them.

                                                 COUNT I

                   Violation of the FLSA: Failure to Pay Overtime Compensation
                                        (Collective Action)

          92.   Lapointe repeats and realleges the foregoing paragraphs as if repeated in full

herein.

          93.   This paragraph describes Plaintiffs’ claims and contains legal conclusions to

which no response is required. To the extent there are factual allegations contained in this

paragraph, Lapointe denies them. Lapointe further denies that the Plaintiffs are entitled to

judgment or other relief sought.




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          94.    This paragraph contains legal conclusions to which no response is required. To the

extent there are factual allegations contained in this paragraph, Lapointe denies them.

          95.    Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

          96.    Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

          97.    Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

          98.    Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

                                               COUNT II

                     Failure to Pay Overtime under 26 M.R.S. §§664(3) and 670

          99.    Lapointe repeats and realleges the foregoing paragraphs as if repeated in full

herein.

          100.   Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

the same.

          101.   This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, Lapointe denies them.



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        102.      Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

them.

        103.      Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

them.

        104.      Denied on behalf of Lapointe. As to Defendant AP Drywall, Lapointe is without

information sufficient to form a belief as to the truth of the allegations, and accordingly denies

them.

        105.      This paragraph contains legal conclusions to which no response is required. To the

extent a response is required, Lapointe denies them.

        106.      Denied on behalf of Lapointe.

                                      AFFIRMATIVE DEFENSES

        1.        Plaintiffs’ Complaint fails to state a claim upon which relief can be granted

against Lapointe.

        2.        Some or all of the claims of some or all Plaintiffs and each Putative Class

Member defined in the Complaint are barred in whole or in part because Plaintiffs lack standing.

        3.        Some or all of the claims of some or all Plaintiffs and each Putative Class

Member defined in the Complaint are barred in whole or in part because of the applicable statute

of limitations.

        4.        The claims of Plaintiffs and any Putative Class Members are subject to the

FLSA’s two-year limitations period because any violation of the FLSA, which Lapointe denies,

was not willful and reckless as required to apply a three-year limitations period.



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        5.      Plaintiffs’ Complaint is barred in whole or in part as a result of the acts or

omissions of Plaintiff and/or others, over which Lapointe has no responsibility, and/or the

intervening conduct of third parties.

        6.      Lapointe is not a proper defendant because it did not employ Plaintiffs or any

purported class members, and otherwise was not responsible for the employment actions and

practices of which Plaintiffs complain.

        7.      Lapointe’s actions about which Plaintiffs complain were taken in good faith, and

Lapointe had reasonable grounds for believing that its actions were not in violation of applicable

law.

        8.      To the extent Lapointe has any burden of proof, Lapointe is not a proper party to

some or all of Plaintiffs’ claims in this case.

        9.      Plaintiffs cannot satisfy the requirements for the maintenance of a class or

collective action or the prerequisites for class or collective certification.

        10.     Plaintiffs do not, and cannot, fairly and adequately represent the interests of the

purported class.

        11.     Lapointe opposes class and collective action certification and disputes the

propriety of class or collective treatment. If the Court certifies the class in this case over

Defendant’s objections, then Defendant asserts the defenses set forth in this Answer against each

and every member of the certified class.

        12.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver,

unclean hands, laches, and/or estoppel.

        13.     Lapointe reserves the right to assert additional affirmative defenses in the event

discovery indicates they would be appropriate.



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        WHEREFORE, Defendant Yves Lapointe Drywall, Inc. prays for judgment as follows:

        1.      That judgment be entered in favor of Defendant Yves Lapointe Drywall, Inc. and

against Plaintiffs;

        2.      That Plaintiffs’ Complaint be dismissed in its entirety with prejudice and that

Plaintiffs take nothing by their complaint;

        3.      That Defendant Yves Lapointe Drywall, Inc. be awarded costs of suit incurred

herein, including their actual attorneys’ fees and costs; and

        4.      For such other and further relief as the court deems just and proper.



                       CROSS-CLAIM AGAINST AP DRYWALL, INC.
        Lapointe asserts the following cross-claim against co-defendant AP Drywall based on

information and belief.

        1.      In this action, Plaintiffs and Putative Class Members have brought claims alleging

unpaid wages and other relief for alleged violations of the Fair Labor Standards Act (“FLSA”)

and Maine Unpaid Wage laws, 26 M.R.S. §§ 664(3) and 670, arising out of the alleged acts

and/or omissions by Defendants Yves Lapointe Drywall Inc. (“Lapointe”) and AP Drywall Inc.

(“AP Drywall”).

        2.      Lapointe is a drywall sub-contractor hired by general contractors to work on

specific construction projects. Lapointe is a Maine corporation.

        3.      As alleged in the Complaint, AP Drywall generally provides laborers who

perform framing, drywalling, and ceiling work for general or sub-contractors on specific

construction projects. AP Drywall is a Maine corporation. ECF 1, ¶ 18.




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       4.      The Complaint alleges that Defendants Lapointe and AP Drywall willfully

violated the FLSA and the Maine Unpaid Wage laws by knowingly failing to pay overtime to

Plaintiffs and Putative Class Members.

       5.      Lapointe denies it engaged in any unlawful or wrongful acts or omissions and

denies all liability for claims and damages asserted by the Plaintiffs and Putative Class Members

in the Complaint for the reasons set forth in its answer and affirmative defenses.

       6.      Lapointe also denies that it is liable under any theory in any amount to Plaintiffs

for the reasons set forth in its answer and affirmative defenses.

       7.      If, however, Lapointe is found liable, Lapointe would be entitled to contribution

or indemnification from AP Drywall because AP Drywall’s actions and inactions caused any

damages to Plaintiffs.

               Count I – Indemnity under the FLSA and 26 M.R.S. §§ 664 and 670

       8.      Lapointe realleges and incorporates by reference the allegations contained in

paragraphs 1 through 7 above, as if fully set forth herein.

       9.      Lapointe’s alleged liability to Plaintiffs and Putative Class Members, if any, was

caused solely or primarily by the wrongful acts or omissions of AP Drywall.

       10.     In the event Plaintiffs and/or Putative Class Members are able to recover any part

of the alleged damages, in settlement or otherwise, from Lapointe, which damages Lapointe

denies, then AP Drywall should be held responsible for such loss, not Lapointe.

       11.     Lapointe is entitled to indemnification from AP Drywall in an amount

commensurate with Lapointe’s liability to Plaintiffs and Putative Class Members, if any,

including any amounts paid in settlement as a result of these proceedings.




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       12.     Thus, Lapointe is entitled to an order holding AP Drywall solely responsible for

(i) any loss incurred by Lapointe in the event that Plaintiffs are able to recover any part of the

alleged damages from Lapointe, which damages Lapointe; or (ii) any amount paid by Lapointe in

partial or complete settlement of this action; and (iii) all costs and fees, including attorneys’ fees,

incurred by Lapointe in the defense of this action.

               Count II – Contribution under the FLSA and 26 M.R.S. §§ 664 and 670

       13.     Lapointe realleges and incorporates by reference the allegations contained in

paragraphs 1 through 12 above, as if fully set forth herein.

       14.     Lapointe’s alleged liability to Plaintiffs and/or Putative Class Members, if any,

was caused solely or primarily by the wrongful acts or omissions of AP Drywall.

       15.     In the event Plaintiffs and/or Putative Class Members are able to recover any part

of the alleged damages, in settlement or otherwise, from Lapointe, which damages Lapointe

denies, then AP Drywall should be held responsible for such loss.

       16.     Lapointe is entitled to contribution from AP Drywall in an amount commensurate

with AP Drywall’s pro-rata shares of any common liability.

       17.     Thus, Lapointe is entitled to an order holding AP Drywall solely responsible for

(i) any loss incurred by Lapointe in the event that Plaintiffs are able to recover any part of the

alleged damages from Lapointe, which damages Lapointe; or (ii) any amount paid by Lapointe in

partial or complete settlement of this action; and (iii) all costs and fees, including attorneys’ fees,

incurred by Lapointe in the defense of this action.

               Count III – Equitable Claim for Common Law Indemnity and Contribution

       18.     Lapointe realleges and incorporates by reference the allegations contained in

paragraphs 1 through 17 above, as if fully set forth herein.



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       19.     Lapointe’s alleged liability to Plaintiffs and/or Putative Class Members, if any,

was caused solely or primarily by the wrongful acts or omissions of AP Drywall.

       20.     In the event Plaintiffs and/or Putative Class Members are able to recover any part

of the alleged damages, in settlement or otherwise, from Lapointe, which damages Lapointe

denies, then AP Drywall should be held responsible for such loss.

       21.     Lapointe is entitled to the equitable remedy of indemnification and/or contribution

from AP Drywall, holding it (A) solely responsible for (i) any loss incurred by Lapointe in the

event that Plaintiffs and/or Putative Class Members are able to recover any part of the alleged

damages from Lapointe, which damages Lapointe; or (ii) any amount paid by Lapointe in partial

or complete settlement of this action; and (iii) all costs and fees, including attorneys’ fees,

incurred by Lapointe in the defense of this action, or, (B) responsible to Lapointe in an amount

commensurate with AP Drywall’s pro-rata shares of any common liability, all in accordance with

common law.

               Count IV – Breach of Contract

       22.     Lapointe realleges and incorporates by reference the allegations contained in

paragraphs 1 through 21 above, as if fully set forth herein.

       23.     Lapointe and AP Drywall agreed that Lapointe would hire AP Drywall as a

subcontractor to provide construction services relating to framing, drywall, and hanging sheet

rock on certain of its jobs located in Maine.

       24.     Lapointe and AP Drywall agreed that AP Drywall and not Lapointe would be

responsible for AP Drywall employees, including wages, wage calculations, withholdings, and

issuance of payment to its employees, for all work performed on Lapointe jobs.




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       25.     Lapointe and AP Drywall agreed that no AP Drywall employees would work more

than 40 hours per workweek on any Lapointe jobs.

       26.     AP Drywall materially breached the contract by permitting its employees to work

more than 40 hours in a workweek to the extent 40 hours were exceeded.

       27.     To the extent that 40 hours were exceeded, AP Drywall materially breached the

contract by failing to pay its employees overtime, to the extent that occurred.

       28.     As a result of AP Drywall’s breaches as alleged above, Lapointe has suffered

damages.


   WHEREFORE, Yves Lapointe Drywall, Inc. prays for judgment as follows:

       1.      That judgment be entered in favor of Lapointe and against AP Drywall;

       2.      That Lapointe’s cross-claims for indemnity and/or contribution be granted;

       3.      That Lapointe be awarded costs of suit incurred herein, including their actual

attorneys’ fees and costs; and

       4.      For such other and further relief as the court deems just and proper.

Dated: July 8, 2024                                  Respectfully submitted,


                                                     /s/ Daniel A. Nuzzi
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                                CERTIFICATE OF SERVICE


       I hereby certify that on July 8, 2024, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification to counsel of

record. Service on AP Drywall, Inc. was made via email and by USPS mail to the address on file

with the Court.

                                                     /s/ Daniel A. Nuzzi
                                                     Daniel A. Nuzzi




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